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                                                                      IN THE UNITED STATES DISTRICT COURT

                                                                                FOR THE DISTRICT OF ALASKA
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    Hozubin, Moberly, Lynch & Associates




                                                 GREAT DIVIDE INSURANCE COMPANY,                                 )
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                                                 a North Dakota Corporation,                                     )
                                                                                                                 )
                                                             Plaintiff,                                          )
                                                                                                                 )
                                                 v.                                                              ) Case No. 3:15-cv-00189-JWS
                                                                                                                 )
                                                 BEAR MOUNTAIN LODGE, LLC, et al.                                )
                                                                                                                 )
                                                             Defendants.                                         )
                                                                                                                 )

                                                                     STIPULATION TO DISMISS WITH PREJUDICE

                                                      The parties to this matter, through their respective counsel, do hereby stipulate and

                                                 agree to the dismissal of this matter with prejudice. Each party will bear its own

                                                 attorney’s fees and costs.




                                                                          Great Divide Insurance Co. v. Bear Mountain Lodge, LLC et al.
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                                                 DATED this 23rd day of December 2016.
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                                                 DATED this 23rd day of December 2016.

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                                                 CERTIFICATE OF SERVICE
                                                 The undersigned hereby certifies that
                                                 on the 23rd day of December 2016, a true and
                                                 correct copy of the foregoing was served
                                                 ELECTRONICALLY via CM/ECF on:                                  Michael J. Schneider, Esq.
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                                                 4824.32/Court Docs/ Stip to Dismiss- all




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